Case 2:21-cv-07144-MWF-PD Document 13 Filed 10/20/21 Page 1 of 1 Page ID #:45

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

Case No.        CV 21-7144 MWF (PDx)                                       Date: October 20, 2021
Title       Crystal Redick v. Bonobos, Inc., et al.


Present: The Honorable:      MICHAEL W. FITZGERALD, United States District Judge


                   Rita Sanchez                                        Not Reported
                   Deputy Clerk                                  Court Reporter / Recorder

        Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
                 Not Present                                        Not Present

Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE RE
             DISMISSAL

       In light of the Notice of Settlement [12] filed October 19, 2021, the Court
sets a hearing on Order To Show Cause Re Dismissal for NOVEMBER 22, 2021
at 11:30 a.m. If a stipulated dismissal is filed prior to this date, the matter will be
taken off calendar and no appearance is needed. All other hearings and
deadlines are hereby vacated.

        IT IS SO ORDERED.
                                                                         Initials of Preparer: RS/sjm




CV-90 (03/15)                          Civil Minutes – General                               Page 1 of 1
